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                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF NEW JERSEY

 TONY MCCOY, individually and on behalf
 of all others similarly situated,
                                                   Case No.:
                        Plaintiff,

                 vs.                               CLASS ACTION COMPLAINT

 SAMSUNG ELECTRONICS AMERICA,
 INC.,                                             JURY TRIAL DEMANDED

                        Defendant.



       Plaintiff Tony McCoy, individually and on behalf of all others similarly situated, by his

attorneys, files this Class Action Complaint against Defendant Samsung Electronics America,

Inc. (“Samsung”). The following allegations are based on personal knowledge as to Plaintiff’s

own conduct and on the investigation conducted by his counsel as to all other allegations.

                                 SUMMARY OF THE ACTION

       1.        Plaintiff brings this consumer class action alleging that Samsung concealed a

known material defect in the Chromebook Plus 2-in-1 portable computer (hereinafter the “Class

Device”) that it designed, manufactured, marketed, sold, and distributed to customers across the

United States.

       2.        The Chromebook Plus is a “2-in-1” device—i.e., one that is convertible from a

laptop to a tablet—that sells at a premium relative to traditional laptops and tablets. It was

launched in or around January 2017 and retailed for over $449. Samsung touted the Class

Devices as a premium and durable 2-in-1 portable computer, replete with high-end features. It

has the appearance of a traditional “clamshell” laptop but the display is a “360-degree rotating

touchscreen” that can be folded to the back of the chassis along two hinges so the device can be
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used as a tablet and in various positions. Samsung and Google Introduce the Next Generation

Chromebook Designed for Google Play: The Samsung Chromebook Plus and Chromebook Pro,

Samsung.com (Jan. 4, 2017), available at

https://news.samsung.com/us/2017+ces+Samsung+Chromebook+Plus+and+Chromebook+Pro+

Samsung+and+Google+Introduce+the+Next+Generation+Chromebook+Designed+for+Google+

Play (last accessed Sep. 24, 2021).

        3.      Defendant heavily marketed the “supreme flexibility” of the Class Devices,

claiming: the “Class Devices . . . [are] designed to be flexible—allowing the user to transform

the Chromebook on demand. It is built with a 360-degree rotating touchscreen performing both

as a notebook, and an ultra-mobile premium tablet.” Id. This feature is, for all intents and

purposes, identical across Chromebook Plus models with respect to design, form, assembly and

function.

        4.      Unbeknownst to consumers, however, the Class Devices’ display hinges are

defective in that they detach from their mounting point within the display and break through the

screen when the display is moved (the “Defect”). When the Defect manifests, attempting to open

an impacted Class Device or change the display angle causes the screen to split, rupture, or suffer

other serious damage. The Defect renders the Class Devices inoperable by (1) breaking the screen

glass and/or (2) restricting the user’s ability to open or close the display and adjust the viewing

angle without causing severe damage to the screen glass. The Defect thereby deprives Plaintiff and

the Class members of the defining feature of their Chromebook Plus: the ability to use their devices

as either a tablet or a laptop.

        5.      Defendant knew or should have known about the Defect long before it placed the

Class Devices into the stream of commerce through, inter alia, pre-release product testing.




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Despite this knowledge, Defendant has failed to disclose the Defect to purchasers of the

Chromebook Plus and continues to misrepresent the capabilities of the Class Device.

       6.      Indeed, even when consumers advise Samsung that the Defect has manifested in

their Class Devices, Defendant typically denies that the Defect exists and asserts hinges only fail

when misused. Defendant unjustly profits from this scheme by routinely refusing to provide

repairs free of charge.

       7.      The Defect manifests both while Class Devices are inside and outside of the

warranty period. The only solution to the Defect is to replace the impacted hinge assembly and

screen (if damage has occurred). It has left consumers across the country with Class Devices that

do not work as intended, and indeed are rendered non-usable.

       8.      As a result of Samsung’s unfair, deceptive and fraudulent business practices in

connection with the defective Class Devices, current and former owners of Class Devices,

including Plaintiff and members of the Class, have suffered an ascertainable loss of money,

property, and/or loss in value of their devices. Had Plaintiff and the Class members known about

the Defect at the time of purchase, they would have paid substantially less for their Class

Devices, or would not have purchased them and avoided the significant out-of-pocket costs they

have or will incur to repair or replace their Chromebook Plus once the Defect manifests.

       9.      Accordingly, Plaintiff brings this action to redress Defendant’s violations of

various states’ consumer fraud statutes, breach of implied warranties, and other common law

wrongs. Plaintiff also seeks money damages and equitable relief for Defendant’s conduct

described herein.




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                                             PARTIES

        10.    At all times relevant herein, Tony McCoy was a citizen of the United States,

residing in Norman, Oklahoma.

        11.    Defendant Samsung is a South Korean corporation formed under the laws of the

State of Delaware with its headquarters in Ridgefield Park, New Jersey.

                                 JURISDICTION AND VENUE

        12.    This Court has jurisdiction over this action under the Class Action Fairness Act,

28 U.S.C. § 1332(d). The aggregated claims of the individual class members exceed the sum or

value of $5,000,000, exclusive of interests and costs. This is a putative class action in which more

than two-thirds of the proposed plaintiff class are citizens of states other than the Defendant.

        13.    This Court has jurisdiction over this action because Defendant is headquartered in

the State of New Jersey within the boundaries of this judicial district; has consented to jurisdiction

by registering to conduct business in the state; maintains sufficient minimum contacts in New

Jersey; and otherwise intentionally avails itself of the New Jersey markets through promotion, sale,

marketing and distribution of its Class Devices in and from the state, which renders the exercise

of jurisdiction by this Court proper and necessary as Samsung is “at home” in New Jersey.

        14.    Venue is proper in this District, under 28 U.S.C. § 1391(b), because a substantial

part of the events or omissions giving rise to the claims of at least one Plaintiff occurred in this

District.

                           PLAINTIFF SPECIFIC ALLEGATIONS

        15.    On or around December 2018, Plaintiff McCoy purchased a Samsung Chromebook

Plus from a Best Buy retail location for roughly $600.00.

        16.    Plaintiff was initially impressed by the Class Device’s metal exterior, 2-in-1




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convertible design, and its association with a well-known brand such as Samsung. When making

his final purchasing decision, Plaintiff relied on the marketing and sales materials present at the

Best Buy retail location concerning the Class Device’s durability and functionality. The fact that

Defendant advertised and warranted it as a premium and durable 2-in-1 laptop/tablet with high-

end features was material to Plaintiff and to other reasonable consumers.

       17.     In or around August 2021, Plaintiff attempted to open the Class Device from its

closed position. As he did so, Plaintiff heard a loud pop and saw that the hinge had broken off from

the display and shattered the screen.

       18.     Plaintiff used and maintained his Class Device in a manner typical of a reasonable

consumer.

       19.     Following the manifestation of the Defect in his Class Device, Plaintiff’s wife filed

a formal complaint with Samsung’s customer service team. Over the course of several days

Plaintiff’s wife spent many hours speaking with customer service representatives on the phone and

gradually escalated her complaint to the point of speaking with a supervisor. The supervisor,

however, dismissed Plaintiff’s concerns and attributed blame for the Defect to “opening and

closing the laptop too much.”

       20.     Plaintiff conducted his own research into the cause of the Defect and found many

poor reviews referencing the defect on websites such as BestBuy.com and Reddit. Plaintiff

estimates that he and his wife spent a total of 15-20 hours on research, troubleshooting, and

correspondence with Samsung regarding the defect.

       21.     Plaintiff and his family no longer use his Class Device and are considering

purchase of a replacement device from another manufacturer. Plaintiff is now hesitant to

purchase another Chromebook.




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       22.     Plaintiff McCoy’s Chromebook has suffered the damage caused by the Defect as

shown below:




                           COMMON FACTUAL ALLEGATIONS

   A. The Samsung Chromebook Plus

       23.     The Chromebook Plus is a “2-in-1” laptop/tablet device that debuted in or around

January 2017. The Class Devices sold at a premium relative to traditional laptops and tablets,



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with the basic model retailing for over $449. Samsung touted the Class Devices as “premium

convertible laptops” and durable 2-in-1 portable computers, replete with high-end features such

as: an “immersive Quad HD 2400×1600 resolution display made of durable Gorilla Glass 3;”

“4GB of RAM and 32GB of storage;” a “built-in digitized pen;” and an “Intel® Core™ m3

processor.” Samsung and Google Introduce the Next Generation Chromebook Designed for

Google Play: The Samsung Chromebook Plus and Chromebook Pro, Samsung.com (Jan. 4,

2017), available at

https://news.samsung.com/us/2017+ces+Samsung+Chromebook+Plus+and+Chromebook+Pro+

Samsung+and+Google+Introduce+the+Next+Generation+Chromebook+Designed+for+Google+

Play (last accessed Sep. 24, 2021).

       24.     Defendant Samsung designed, manufactured, warranted, advertised, and sold

Class Devices to thousands of consumers throughout the United States and in Oklahoma.

       25.     Defendant’s primary selling point of the Class Devices is their “supreme

flexibility.” Defendant explained that the “Chromebook Plus . . . [is] designed to be flexible—

allowing the user to transform the Chromebook on demand. It is built with a 360-degree rotating

touchscreen performing both as a notebook, and an ultra-mobile premium tablet.” See id.

       26.     Defendant heavily promoted the convertibility of the Class Devices. For example,

in marketing materials accompanying the announcement of the Class Devices, Defendant

described the devices as “the latest generation of its Chromebooks that pairs the power and

productivity of a laptop with the flexibility and versatility of a tablet.” Id. In contemporaneous

marketing materials Defendant claimed that the Class Devices could “go from notebook to tablet

in a single snap. Thanks to Quad HD screen [sic], the Samsung Chromebook Plus and Chromebook

Pro perform equally well as both tablet and laptop” At CES 2017 with Innovations to Enhance the




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Way     People    Live,    Work   and    Play,   Samsung.com     (Jan.   4,   2017),   available    at

http://web.archive.org/web/20181020030155/https://news.samsung.com/us/Samsung+Electronic

s+Reaches+Higher+for+Consumers+at+CES+2017+with+Innovations+to+Enhance+the+Way+P

eople+Live%2C+Work%2C+and+Play (last accessed Sep. 24, 2021).

        27.      Samsung’s product pages for the Class Devices consistently highlight the

convertibility of the device, claiming: “Samsung Chromebook Plus adapts to whatever you’re

doing. Use it like a laptop to reply to emails or to work on a paper. When you need a break, flip

the screen so you can play games or catch up on your latest book,” Chromebook Plus Product

Page,                     Samsung.com,                                   available                  at

http://web.archive.org/web/20170119011315mp_/http://www.samsung.com/us/computing/chrom

ebooks/12-14/xe513c24-k01us-xe513c24-k01us/ (last accessed Sep. 24, 2021), and stating “From

laptop to tablet to sketchbook and more . . . it easily folds over into tablet mode so you can quickly

switch between typing and writing down ideas,” Chromebook Plus Product Page, Samsung.com,

available at https://www.samsung.com/us/computing/chromebooks/12-14/samsung-chromebook-

plus-xe521qab-k01us/#benefits (last accessed Sep. 24, 2021). Defendant’s website also makes

clear that the functionality of the Class Devices is tied to its rotating screen, for example, “Change

your perspective with the revolutionary 13MP world-facing camera with autofocus. Simply fold

your laptop into tablet mode and capture your view from any angle or zoom in to take photos of

the whiteboard.” Id.

        28.      Below are several images from Defendant’s marketing materials illustrating the

purported flexibility and convertibility of the Class Devices.




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       29.    Defendant also touted the durability and quality of the Class Devices, describing

them as “premium convertible laptops” “featur[ing] a sleek yet durable metal body,” At CES 2017

with Innovations to Enhance the Way People Live, Work and Play, Samsung.com (Jan. 4, 2017),

available                                                                                    at

http://web.archive.org/web/20181020030155/https://news.samsung.com/us/Samsung+Electronic

s+Reaches+Higher+for+Consumers+at+CES+2017+with+Innovations+to+Enhance+the+Way+P

eople+Live%2C+Work%2C+and+Play (last accessed Sep. 24, 2021), and “high-quality

hardware,” Samsung and Google Introduce the Next Generation Chromebook Designed for

Google Play: The Samsung Chromebook Plus and Chromebook Pro, Samsung.com (Jan. 4, 2017),

available                                                                                    at

https://news.samsung.com/us/2017+ces+Samsung+Chromebook+Plus+and+Chromebook+Pro+


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Samsung+and+Google+Introduce+the+Next+Generation+Chromebook+Designed+for+Google+

Play (last accessed Sep. 24, 2021); see also Jessica Leigh Brown, 10 reasons to move your school

to Chromebooks, Samsung.com (May 6, 2021), (claiming “They’re durable” and insinuating that

the    Class   Devices     “have   passed    military-grade   durability   tests”)   available     at

https://insights.samsung.com/2021/05/06/10-reasons-to-move-your-school-to-chromebooks/ (last

accessed Sep. 24, 2021).

         30.     Defendant marketed, promoted, and expressly and impliedly warranted that the

Class Devices were fully functioning 2-in-1 portable computers without any faults in the hinge

mechanism that would prevent the devices from converting between use modes or otherwise

keep the user from adjusting the screen angle.

         31.     Defendant’s marketing and advertising was created, approved and disseminated

from its national headquarters in New Jersey. In additionally, its warranty repair division is based

in New Jersey.

         32.     Plaintiff and the Class purchased Class Devices manufactured, marketed and sold

by Defendant because they were advertised and expressly and impliedly warranted as a premium

and durable 2-in-1 laptop/tablet devices. Plaintiff and the Class purchased their Class Devices to

be used as 2-in-1 laptop/tablet devices as represented by Defendant in their marketing materials

for the Chromebook Plus.

      B. The Defect

         33.     The hinges used in the Class Devices, however, are defective and prevent them

from being used as advertised. Specifically, the Defect causes one or more of the hinge arms to

separate from its mount inside the display, which ultimately damages the display and cracks the

screen, and/or prevents owners from opening, closing, or adjusting the displays of the Class




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Devices for fear of damaging the screen glass.

       34.     The Class Devices utilize hinges to connect the chassis to the display. Defendant

mounts the hinge assembly to the device display with three small screws into a piece of plastic

affixed behind the screen glass. The hinge assembly is also secured to the chassis. To ensure that

the Class Device can be used in various positions, the hinges are designed to resist movement

and thereby hold whatever position they are put in until the user manually changes the angle of

the screen by applying force to the display.

       35.     On information and belief, the cause of the Defect is that the plastic mount in the

display to which the hinge assembly is affixed fails and detaches from its attachment point

within the display. When a user attempts to change the display angle by applying force to it, the

detached hinge arm exerts pressure on the underside of the display glass. When the display is

moved, the resistance of the hinge causes the screen and surrounding plastic to shatter, damaging

the screen and rendering further use of the laptop dangerous.

       36.     In most cases, the Defect leaves a Class Device unusable. Infact, Defendant’s

User Manua agrees, as it states: l for the Class Devices, “Do not use the product if it is cracked or

broken. Broken glass or acrylic could cause injury to your hands and face. Take the device to a

Samsung Service Center to have it repaired.” User Manual at 51, available at

https://downloadcenter.samsung.com/content/UM/201810/20181015151414731/Chromebook_M

anual_ENG.pdf (last accessed Sep. 24, 2021). Samsung also cautions that “Using a broken

computer may result in electric shock or fire.” Id. at 48.

       37.     The only solution to the Defect is to replace the impacted hinge assembly and

screen (if damaged).

       38.     Unfortunately for Plaintiff and Class members, they could not have readily




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discovered the true extent and nature of the Defect until after it manifested in their Class

Devices. Defendant, however, has long known of the Defect while concealing its existence from

its customers.

   C. Samsung’s Exclusive and Early Knowledge of the Screen Defect

       39.       The Defect appears to be pervasive throughout Class Devices manufactured after

January 2017. It manifests both inside and outside of the one-year warranty period.

       40.       On information and belief, Samsung designed and manufactured the Class

Devices. As such, Samsung had exclusive knowledge of the Defect at the time of the Class

Devices’ manufacture from, among other things, pre-release product testing.

       41.       Additionally, on information and belief, Samsung receives warranty repair

inquiries and supplies replacement parts for the Class Devices. Thus, Samsung was also made

aware of the defect from the numerous warranty inquiries it received from Class Device owners

and from the demand for replacement parts relating to the Defect.

       42.       Furthermore, Defendant knew or should have known about the Defect because of

the large number of comments and posts made online about the Defect. There are hundreds of

posts from Chromebook Plus owners complaining about the Defect on scores of threads on

numerous message boards—including on Defendant’s own website since at least early 2019.

       43.       On Samsung’s product page for the Class Devices, the average customer review

score is 1.9 stars out of a possible five. Of 68 total reviews, 38 customers rate the device the lowest

possible score of one star, with another 14 rating two stars. Most of these negative reviews reference

the Defect and Samsung’s refusal to remedy the issue. Mention of the Defect on this webpage dates

back over two years and continues up through recent months. Comments such as those shown below

are remarkably common, with many users also positing pictures of the defective device to illustrate




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their           claims.          ee            Samsung.com,       available       at

https://www.samsung.com/us/computing/chromebooks/12-14/samsung-chromebook-plus-

xe521qab-k01us/#reviews (last accessed Sep. 23, 2021).




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        44.    A small minority of users report that Samsung agreed to cover repairs for their device

after the appearance of the Defect. In one of these cases, Samsung agreed to provide the repairs

under warranty. In another, Samsung first quoted the user $362.00 for repairs of the Defect, but then

agreed to a no-cost repair due to the presence of many online complaints regarding the Defect. These

instances stand in contrast to the experiences of Plaintiff McCoy and most other device owners, who

have alternatively been blamed for causing the damage themselves or told that the Defect is

“cosmetic” and therefore not covered by warranty.




        45.    Online complaints regarding the Defect are not limited to Samsung’s website or the

relevant product pages. For instance, many Class Device owners have spoken out about the Defect

on the popular online message board Reddit. In one thread, entitled “Rash of Samsung Plus V2

hinge            failures,”           see            Reddit.com              available             at

https://www.reddit.com/r/chromeos/comments/bwc83s/rash_of_samsung_plus_v2_hinge_failures/

(last accessed Sep. 22, 2021), various Class Device owners posted the below messages:




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       46.    One of the comments above links to the Samsung Chromebook product page on Best

Buy’s website. Many user reviews echo the complaints left on Samsung’s website, see Chromebook

Plus Product Page, BestBuy.com, available at https://www.bestbuy.com/site/reviews/samsung-




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plus-2-in-1-12-2-touchscreen-chromebook-intel-celeron-4gb-memory-32gb-emmc-flash-memory-

stealth-silver/6239914?variant=null&rating=1 (last accessed Sep. 22, 2021). Reviews such as those

below are common and often accompanied by supporting photo evidence of the Defect.




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       47.     The immediately preceding review links to the previously referenced Reddit posting.

On another Reddit discussion thread, entitled “Beware the Samsung Chromebook Plus V2,” see

Reddit.com,                                      available                                      at

https://www.reddit.com/r/chromeos/comments/mh4j8a/beware_the_samsung_chromebook_plus_v

2/ (last accessed Sep. 23, 2021), various users posted the following messages:




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      D. Samsung’s Warranty Practices

         48.   Samsung’s limited warranty for the Class Devices (the “Limited Warranty”)

expressly warrants “against manufacturing defects in materials and workmanship for a period of

one (1) year, parts and labor.” See Samsung Computer Limited Warranty, available at

https://www.samsung.com/us/support/service/warranty/XE520QAB-K04US (last accessed Sep.

24,       2021);    Samsung       Computer        Limited     Warranty,      available      at

https://www.samsung.com/us/support/service/warranty/XE513C24-K01US (last accessed Sep. 24,

2021).


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       49.       Samsung also purports to limit warranty relief to product replacement or repair.

Refund of the purchase price to the consumer is an option only when Samsung determines that either

is impossible, at Samsung’s sole discretion.

       50.       When consumers seek relief pursuant to the warranty, however, Samsung typically

declines to repair or replace the Class Devices or refund their purchase price. Instead, Samsung

classifies the problems caused by the Defect as the result of “misuse”—as Plaintiff was told,

“opening and closing the laptop too much”—or other user error or accident. Defendant takes this

approach to avoid responsibility and the costs associated with honoring their warranty.

       51.       On the rare occasions when Defendant honors the Limited Warranty, it typically opts

to repair the Class Devices using similarly defective hinges that fail to remedy the underlying

Defect. Thus, Samsung’s warranty fails of its essential purpose.

       52.       In its capacity as a warrantor, Defendant’s knowledge of the Defect in the Class

Devices renders its efforts to limit the duration of warranties in a manner that would exclude

warranty coverage unconscionable, and any such effort to disclaim, or otherwise limit, its warranties

is null and void. The limitations on the warranties are procedurally unconscionable. There was

unequal bargaining power between Defendant and Plaintiff and the other Class members, as, at the

time of purchase, Plaintiff and the other Class members had no other options for negotiating the

terms thereof.

       53.       The limitations on the warranties also are substantively unconscionable. Samsung

knew (and knows) that the Class Devices are defective and incapable of performing as advertised.

Defendant failed to disclose these defects to Plaintiff and the other Class members while continuing

to market misrepresent the performance properties of Class Devices; thus, Defendant’s enforcement

of the limitations on its warranties is harsh and shocks the conscience.




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       54.     Samsung’s fraudulent, deceptive, and unfair practices have caused, and continue to

cause, Plaintiff and Class members significant out-of-pocket losses in the amount of the prices paid

for these defective Devices.

                               CLASS ACTION ALLEGATIONS

       55.     Plaintiff brings this lawsuit on behalf of themselves and all similarly

situated individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(2),

23(b)(3), and/or 23(c)(4). Specifically, the classes consist of:

                                         Nationwide Class:

               All purchasers in the United States who purchased a Class
               Device.

                                        Oklahoma Subclass:

               All purchasers in the state of Oklahoma who purchased a Class
               Device.

Excluded from the Class are: (a) any Judge presiding over this action and members of their

families; (b) Defendant and their subsidiaries and affiliates; and (c) all persons who properly

execute and file a timely request for exclusion from the Class.

       56.     Numerosity: The Class and Subclass are comprised of at least hundreds of owners of

Class Devices, making joinder impractical. Moreover, the Class and Subclass are composed of an

easily ascertainable, self-identifying set of individuals and entities who purchased Class Devices.

The precise number of Class members can be ascertained through discovery, which includes

Samsung’s records. The disposition of their claims through a class action will benefit both the

parties and this Court.




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       57.      Commonality: There are questions of law and fact common to the Class that will

materially advance the litigation, and these common questions predominate over any questions

affecting only individual Class members. Among the questions common to the Class are:

             a. Whether Samsung’s Chromebook Plus is defective in that the hinges fail;

             b. The origins and implementation of, and the justifications for, if any, Samsung’s
                policies and technology relating to the Defect and its manifestation in the Class
                Devices;

             c. When Samsung became aware of the Defect in the Class Devices and how it
                responded to that knowledge;

             d. Whether Samsung actively concealed and/or failed to notify consumers of the
                Defect in the Class Devices;

             e. Whether Defendant knew of the Defect but failed to disclose the problem and its
                consequences to their customers;

             f. Whether a reasonable consumer would consider the Defect or its consequences to
                be material;

             g. Whether Defendant’s conduct violates state consumer protection laws as asserted
                herein;

             h. Whether Defendant’s sale of Class Devices with defective hinges is unfair, false,
                misleading, or deceptive acts in the conduct of any trade or commerce;

             i. Whether Defendant breached the implied warranty of merchantability, by selling
                the Class Devices with defective hinges;

             j. Whether Plaintiff and the other Class members overpaid for their Class Devices as
                a result of the Defect alleged herein;

             k. Whether Plaintiff and Class Members would have purchased their Class Devices,
                and whether they would have paid a lower price for them, had they known that it
                contained the Defect at the time of purchase;

             l. Whether Plaintiff and the Class are entitled to compensatory damages, including,
                among other things: (i) compensation for all out-of-pocket monies expended by
                members of the Class for replacement or repair of the Class Devices; (ii) the failure
                of consideration in connection with and/or difference in value arising out of the
                variance between the Class Devices as merchantable possessing a non-defective
                hinges, and as actually manufactured and sold possessing a defective hinges; and,


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                 (iii) whether Plaintiff and the Class are entitled to all costs associated with repair
                 and replacement of their Class Devices; and

              m. Whether Plaintiff and the other Class members are entitled to equitable relief,
                 including, but not limited to, restitution or injunctive relief.


        58.      Typicality: Plaintiff’s claims are typical of the claims of the members of the Class

and Subclass, as all such claims arise out of Defendant’s conduct in designing, manufacturing,

marketing, advertising, warranting, and selling the Class Devices. All of Plaintiff’s claims are

typical of the claims of the Class since Plaintiff and all Class members were injured in the same

manner by Defendant’s uniform course of conduct described herein. Plaintiff and all Class

members have the same claims against Defendant relating to the conduct alleged herein, and the

same events giving rise to Plaintiff’s claims for relief are identical to those giving rise to the claims

of all Class members. Plaintiff and all Class members sustained monetary and economic injuries

including, but not limited to, ascertainable losses arising out of Defendant’s wrongful conduct as

described herein. Plaintiff are advancing the same claims and legal theories on behalf of

themselves and all absent Class and/or Subclass members.

        59.      Adequate Representation: Plaintiff will fairly and adequately protect the interests

of the members of the Class and Subclass and have no interests antagonistic to those of the Class.

Plaintiff have retained counsel experienced in the prosecution of complex class actions including,

but not limited to, consumer class actions involving, inter alia, breach of warranties, product

liability, product design defects, and state consumer fraud statutes.

        60.      Predominance: This class action is appropriate for certification because questions

of law and fact common to the members of the Class predominate over questions affecting only

individual members.




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       61.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy, since individual joinder of all members of the Class is

impracticable. Should individual Class Members be required to bring separate actions, this Court

would be confronted with a multiplicity of lawsuits burdening the court system while also creating

the risk of inconsistent rulings and contradictory judgments. In contrast to proceeding on a case-

by-case basis, in which inconsistent results will magnify the delay and expense to all parties and

the court system, this class action presents far fewer management difficulties while providing

unitary adjudication, economies of scale and comprehensive supervision by a single court.

                           FIRST CAUSE OF ACTION
             VIOLATION OF THE MAGNUSSON-MOSS WARRANTY ACT,
                       15 U.S.C. §§ 2301 et seq. (“MMWA”)
                        (On Behalf of the Nationwide Class)


       62.     Plaintiff repeats and realleges the allegations above as if fully set forth herein.

       63.     Plaintiff and Class members are “consumers” within the meaning of the MMWA.

15 U.S.C. § 2301(3).

       64.     The Class Devices are “consumer products” within the meaning of the MMWA. 15

U.S.C. § 2301(1).

       65.     Samsung is a “supplier” and “warrantor” within the meaning of the MMWA. 15

U.S.C. § 2301(4)-(5).

       66.     This claim is being brought under Section 2310(d)(a) of the MMWA as a state

cause of action over which this Court has supplemental jurisdiction which provides a cause of

action for consumers who are harmed by the failure of a warrantor to comply with a written or

implied warranty.




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       67.     The Class Devices’ implied warranties are accounted for under Section 2301(7) of

the MMWA, and are warranties which Samsung cannot disclaim when they fail to provide

merchantable goods.

       68.     Samsung expressly warrants that it will remedy defects in materials and/or

workmanship in Class Devices that manifest within one year of purchase.

       69.     Samsung also purports to limit warranty relief to product replacement or repair.

Refund of the purchase price to the consumer is an option only when Samsung determines that either

is impossible, at Samsung’s sole discretion.

       70.     As set forth herein, Samsung breached their warranties with Plaintiff and Class

members.

       71.     The Class Devices share a common defect in that they possess defective hinges.

       72.     Samsung has refused to remedy the Defect when Class Devices are presented for

repair within an applicable warranty period because it repairs Devices using similarly defective

replacement components or asserts that Class Devices failed due to customer misuse and, thus, do

not qualify for warranty coverage. Accordingly, Samsung’s repair-or-replace warranty fails of its

essential purpose.

       73.     Samsung also routinely refuses to repair the Defect in Class Devices when

presented for repair just outside the warranty period on grounds that the devices fall outside the

Limited Warranty’s durational limits.

       74.     Despite demands by Plaintiff and the Class for Samsung to pay the expenses

associated with diagnosing and repairing the defective devices which were borne by consumers,

Samsung has refused to do so.




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       75.       Samsung’s knowledge and notice of the Defect prior to sale render its warranty

limitations substantively unconscionable.

       76.       Samsung’s warranties also are procedurally unconscionable because there was

unequal bargaining power between Defendant and Plaintiff and the other Class members, as, at the

time of purchase, Plaintiff and the other Class members had no other options for negotiating the

terms thereof.

       77.       Samsung’s warranty’s remedial and durational limitations are unconscionable and

fail of their essential purpose and thus are unenforceable.

       78.       As a direct and proximate result of Samsung’s breach of implied and express

warranties pursuant to 15 U.S.C. § 2310(d)(1), Plaintiff and Class members have suffered damages

in an amount to be proven at trial. Plaintiff seeks to recover damages resulting directly from

Samsung’s breach of their written and implied warranties, and their deceitful and unlawful

conduct. Damages include costs associated with repairing and replacing the Class Devices.

       79.       The Act also provides for “other legal and equitable” relief. 15 U.S.C. § 2310(d)(1).

Accordingly, Plaintiffs seek reformation of Samsung’s written warranty to comport with

Defendant’s obligations under the Act and with consumers’ reasonable expectations. Additionally,

Plaintiff seeks to enjoin Samsung from acting unlawfully as further alleged, including discouraging

Plaintiff to seek all available remedies.

       80.       The Act also provides for an award of costs and expenses, including attorneys’ fees,

to prevailing consumers in the Court’s discretion. 15 U.S.C. § 2310(d)(2). Plaintiff intends to seek

such an award as prevailing consumers at the conclusion of this case.




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         81.   The amount in controversy in each Plaintiff’s individual claims meets or exceeds

the sum of $25. The total amount in controversy of this action in sum exceeds $50,000, exclusive

of interest and costs, computed on the basis of all claims to be determined in this lawsuit.

                               SECOND CAUSE OF ACTION
           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
         (On Behalf of the Nationwide Class or, alternatively, the Oklahoma Subclass)


         82.   Plaintiff repeats and realleges the allegations above as if fully set forth herein.

         83.   Plaintiff brings this claim individually and on behalf of the Nationwide Class and/or

Class.

         84.   Samsung is a “merchant” as defined under the UCC.

         85.   The Class Devices are “goods” as defined under the UCC.

         86.   Samsung impliedly warranted that the Class Devices were of a merchantable

quality.

         87.   Samsung breached the implied warranty of merchantability because the Class

Devices were not of a merchantable quality due to the Defect.

         88.   Plaintiff and Class members’ interactions with Samsung suffice to create privity of

contract between Plaintiff and Class members, on the one hand, and Defendant, on the other hand;

however, privity of contract need not be established nor is it required because Plaintiff and Class

members are intended third party beneficiaries of contracts (including implied warranties) between

Samsung and the retailers who sell the Class Devices. Defendant’s warranties were designed for

the benefit of consumers who purchase(d) Class Devices.

         89.   As a direct and proximate result of the breach of said warranties, Plaintiff and Class

members were injured and are entitled to damages.




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       90.     Defendant’s attempts to disclaim or limit the implied warranty of merchantability

vis-à-vis consumers is unconscionable and unenforceable. Specifically, Defendant’s warranty

limitations are unenforceable because Defendant knowingly sold a defective product without

informing consumers about the Defect.

       91.     The time limits contained in Defendant’s warranty period were also unconscionable

and inadequate to protect Plaintiff and members of the Class. Among other things, Plaintiff and

members of the Class had no meaningful choice in determining these time limitations, terms which

unreasonably favor Defendant. A gross disparity in bargaining power existed between Defendant

and Class members, as only Defendant knew or should have known that the Class Devices were

defective at the time of sale and that the Devices would fail well before their useful lives.

       92.     Plaintiff and Class members have complied with all obligations under the warranty

or otherwise have been excused from performance of said obligations as a result of Defendant’s

conduct described herein.

       93.     Defendant was provided notice of these issues by complaints lodged by consumers

before or within a reasonable amount of time after the allegations of the Defect became public.

       94.     Prior to the filing of this Complaint, Plaintiff sent a pre-suit notice letter concerning

the Defect, Plaintiff’s experiences with the defect and their intention to file the instant complaint

alleging a breach of the implied warranty of merchantability on behalf of the Class or Subclass.

                        THIRD CAUSE OF ACTION
     VIOLATION OF THE OKLAHOMA DECEPTIVE TRADE PRACTICES ACT
                       (“DTPA”) (78 O.S. § 51, et seq.)
                 (Brought on behalf of the Oklahoma Subclass)


       95.     Plaintiff repeats and realleges the allegations above as if fully set forth herein.




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        96.     Oklahoma’s Deceptive Trade Practices Act, 78 O.S. §§51-55, et seq. (“DTPA”),

makes it unlawful to engage deceptive trade practices in the course of a business, vocation, or

occupation. The DTPA prohibits deceptive trade practices, including: “Us[ing] deceptive

representations . . . in connection with goods or services” and “Knowingly mak[ing] a false

representation as to the characteristics, ingredients, uses, benefits or quantities of goods or services

. . . .” 78 O.S. §53.

        97.     In the course of Samsung’s business, it used deceptive representations in

connection with the sale of the Class Devices. As described above, Samsung knowingly failed to

disclose and actively concealed the material fact of the Defect and made false and misleading

statements about the Class Devices. Samsung marketed the Class Devices as “premium” and

“durable” when they are in fact neither. Furthermore, its central pitch for the Class Devices was

that they are flexible and convertible from laptop to tablet and various other positions, when in

fact using the Class Devices in that manner triggers the Defect and renders them unusable.

        98.     Similarly. Samsung knowingly misrepresented, inter alia, the characteristics and

uses of the Class Devices through its marketing.

        99.     Samsung’s actions as set forth above occurred in the conduct of trade or commerce,

and constitute deceptive trade practices under the DTPA.

        100.    Samsung’s actions impact the public interest because Plaintiff was injured in

exactly the same way as thousands of others purchasing Samsung’s services as a result of

Defendant’s generalized course of deception.

        101.    As a proximate result of the above-described DTPA violations, Plaintiff and

members of the Class: (a) purchased and used Class Devices when they would not otherwise have

done so, overpaying and not receiving the benefit of the bargain; (b) suffered economic losses




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consisting of the Class Devices’ cost of purchase or, alternatively, the diminished value of the

Class Devices with the Defect; (c) suffered and/or will suffer additional economic losses in

purchasing another device; and (d) suffered and will suffer additional economic losses incidental

to the Defect.

         102.    Plaintiff seeks an award of actual damages, attorney’s fees and costs and permitted

by the DTPA.

                       FOURTH CAUSE OF ACTION
   VIOLATION OF THE DECEPTION PRONG OF THE OKLAHOMA CONSUMER
              PROTECTION ACT (“OCPA”) (15 O.S. § 751, et seq.)
                 (Brought on behalf of the Oklahoma Subclass)


         103.    Plaintiff repeats and realleges the allegations above as if fully set forth herein.

         104.    Plaintiff brings this claim individually and on behalf of the Class.

         105.    Plaintiff and Class members who purchased Class Devices are “consumers” under

the OCPA.

         106.    Defendant’s practices, acts, policies and course of conduct violated the OCPA in

that:

                 a.     Defendant engaged in deceptive acts and practices in or affecting

commerce, through their advertisements and packaging of Class Devices, by falsely representing

and advertising to Plaintiff and members of the Subclass, among other things, that the products

were premium and durable 2-in-1 laptop/tablets with high-end features while knowing (or having

reason to know) that those representations were false. Such pattern of conduct was uniform in

nature with respect to the marketing and sale of the product.

                 b.     Defendant also knowingly concealed, suppressed and consciously omitted

material facts from Plaintiff and other members of the members of the Class—such as the

Defect—knowing that consumers would rely on the advertisements and Defendant’s uniform


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representations concerning the Class Devices’ high-end features and functionality in purchasing

their Class Devices.

        107.     Defendant’s acts and omissions possessed the tendency or capacity to mislead or

create the likelihood of deception in that they used misrepresentations and omissions that deceived

or could reasonably be expected to deceive or mislead Plaintiff and the Class with respect to the

Class Devices.

        108.     Until the present, Defendant knowingly accepted the benefits of their deception and

improper conduct in the form of profits from the increased sale of the Class Devices.

        109.     As a proximate result of the above-described OCPA violations, Plaintiff and

members of the Class: (a) purchased and used Class Devices when they would not otherwise have

done so, overpaying and not receiving the benefit of the bargain; (b) suffered economic losses

consisting of the Class Devices’ cost of purchase or, alternatively, the diminished value of the

Class Devices with the Defect; (c) suffered and/or will suffer additional economic losses in

purchasing another device; and (d) suffered and will suffer additional economic losses incidental

to the Defect.

        110.     As a direct and proximate result of these deceptive commercial practices, Plaintiff

and the members of the Class have been damaged and are entitled to recover actual damages to

the extent permitted by law, including class action rules, in an amount to be proven at trial.

        111.     Plaintiff and Class also seek appropriate equitable relief, including an order

requiring Samsung to adequately disclose and remediate the Defect plaguing its Class Devices,

and an order enjoining Samsung from incorporating the Defect into its devices in the future.

Plaintiff and the Class also seek attorneys’ fees and any other just and proper relief available under

OCPA.




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                        FIFTH CAUSE OF ACTION
     VIOLATION OF THE UNFAIR PRONG OF THE OCPA (15 O.S. § 751, et seq.)
                 (Brought on behalf of the Oklahoma Subclass)


       112.      Plaintiff repeats and realleges the allegations above as if fully set forth herein.

       113.      Plaintiff brings this claim individually and on behalf of the Class.

       114.      Plaintiff and Subclass members who purchased Class Devices are “consumers”

under the OCPA.

       115.      Plaintiff and Class engaged in a “consumer transaction” when they purchased their

Class Devices.

       116.      Defendant engaged in unfair acts and practices in or affecting commerce, through

their advertisements and packaging of Class Devices, by representing to Plaintiff and members of

the Class, among other things, that the products were premium and durable 2-in-1 laptop/tablet

devices with high-end features. Such pattern of conduct was uniform in nature with respect to the

marketing and sale of the Class Devices.

       117.      Defendant also knowingly concealed, suppressed and consciously omitted material

facts from Plaintiff and other members of the members of the Class—such as the Defect—knowing

that consumers would rely on the advertisements and Defendant’s uniform representations

concerning the Class Devices’ high-end features and functionality in purchasing their Class

Devices.

       118.      Defendant’s acts and omissions are unfair in that they (1) offend public policy, (2)

are immoral, unethical, oppressive, or unscrupulous; and (3) cause substantial injury to consumers.

       119.      Until the present, Defendant knowingly accepted the benefits of their unfair

conduct in the form of profits from the increased sale of the Class Devices.




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         120.   As a proximate result of the above-described Consumer Protection Act violations,

Plaintiff and members of the Class: (a) purchased and used Class Devices when they would not

otherwise have done so; (b) suffered economic losses consisting of the Class Devices cost of

purchase or, alternatively, the diminished value of the Class Devices with the Defect; (c) suffered

and/or will suffer additional economic losses in purchasing another device; and (d) suffered and

will suffer additional economic losses incidental to the Defect.

         121.   As a direct and proximate result of these unfair practices, Plaintiff and the members

of the Class have been damaged and are entitled to recover actual damages to the extent permitted

by law, including class action rules, in an amount to be proven at trial.

         122.   Plaintiff and Class members also seek appropriate equitable relief, including an

order requiring Samsung to adequately disclose and remediate the defect plaguing its Class

Devices, and an order enjoining Samsung from incorporating the defect into its 2-in-1

laptop/tablets in the future. Plaintiff and the Class also seek attorneys’ fees and any other just and

proper relief available under the OCPA.

                                SIXTH CAUSE OF ACTION
                                  UNJUST ENRICHMENT
         (On Behalf of the Nationwide Class or, alternatively, the Oklahoma Subclass)
         123.   Plaintiff repeats and realleges the allegations above as if fully set forth herein.

         124.   Plaintiff brings this claim individually and on behalf of the Nationwide Class and/or

Class.

         125.   Plaintiff and Class Members have conferred a benefit on Defendant by purchasing

their Class Devices. Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiff’s and Class Members’ purchases of the Class Devices. Retention of such revenues under

these circumstances is unjust and inequitable because of the fatal hinge Defect which has caused

injury to Plaintiff and the Class by materially reducing the functionality of their devices.


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Defendant’s actions caused further injuries to Plaintiff and the Class because they would not have

purchased their Class Devices or would have paid less for them if the true characteristics of the

Class Devices had been known at the time of purchase.

         126.   Because Defendant’s retention of the non-gratuitous benefit conferred on it by

Plaintiff and the Class Members is unjust and inequitable, Defendant must pay restitution to

Plaintiff and the Class Members for their unjust enrichment, as ordered by the Court.

                               SEVENTH CAUSE OF ACTION
                     FRAUDULENT OMISSION OR CONCEALMENT
         (On Behalf of the Nationwide Class or, alternatively, the Oklahoma Subclass)
         127.   Plaintiff repeats and realleges the allegations above as if fully set forth herein.

         128.   Plaintiff brings this claim individually and on behalf of the Nationwide Class and/or

Class.

         129.   At all relevant times, Defendant was engaged in the business of designing,

manufacturing, distributing, marketing, and selling the Class Devices.

         130.   Defendant, acting through its representatives or agents, delivered Class Devices to

its distributors and various other distribution channels.

         131.   Defendant willfully, falsely, and knowingly omitted various material facts

regarding the quality, character, and abilities of the Class Devices.

         132.   Rather than disclose the Defect to Plaintiff and other prospective purchasers of

Class Devices, Defendant concealed the Defect.

         133.   Defendant omitted and concealed this material information to drive up sales and

maintain its market power, as consumers would not purchase Class Devices, or would pay

substantially less for them, had they known the truth.

         134.   Plaintiff and Class members could not have discovered the Defect prior to it

manifesting in their Class Devices.


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       135.    Defendant was in exclusive possession of information concerning the Defect’s

existence, which would have been material to reasonable consumers, and thus was obligated to

disclose the Defect to Plaintiff and Class members, at the point of sale or otherwise.

       136.    Although Defendant had a duty to disclose the Defect to consumers, it failed to do

so.

       137.    Plaintiff and Class members sustained injury at the time they purchased Class

Devices that suffer from the Defect, which Defendant failed to disclose and actively concealed

from them. Had Plaintiff and the Class known about the Defect at the time of purchase, they would

have paid substantially less for their Class Devices, or would not have purchased them and avoided

the significant out-of-pocket costs they have or will incur to repair or replace Class Devices once

the Defect manifests.

       138.    Defendant’s acts were done maliciously, oppressively, deliberately, and with intent

to defraud, and in reckless disregard of Plaintiff and Class members’ rights and well-being, and in

part to enrich itself at the expense of consumers. Defendant’s acts were done to gain commercial

advantage over competitors, and to drive consumers away from consideration of competitor

devices. Defendant’s conduct warrants an assessment of punitive damages in an amount sufficient

to deter such conduct in the future.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff pray for judgment as follows:

       a.      For an order certifying the proposed Class and Subclass and appointing Plaintiff

       and their counsel to represent the classes;

       b.      For an order awarding Plaintiff and Class and Subclass members actual, statutory,

       punitive, and/or any other form of damages provided by and pursuant to the statutes cited




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      above;

      c.        For an order awarding Plaintiff and Class and Subclass members restitution,

      disgorgement and/or other equitable relief provided by and pursuant to the statutes cited

      above or as the Court deems proper;

      d.        For an order or orders requiring Defendant to adequately disclose and remediate

      the Defect.

      e.        For an order awarding Plaintiff and the Class and Subclass Members pre-judgment

      and post-judgment interest;

      f.        For an order awarding Plaintiff and state consumer protection subclass members

      treble damages, other enhanced damages and attorneys’ fees as provided for under the

      statutes cited above and related statutes;

      g.        For an order awarding Plaintiff and the Class and Subclass Members reasonable

      attorneys’ fees and costs of suit, including expert witness fees;

      h.        For an order awarding such other and further relief as this Court may deem just and

      proper.

                                 DEMAND FOR JURY TRIAL

      Plaintiff hereby demand a trial by jury on all claims so triable.


Dated: November 1, 2021
                                              By:
                                                        ______________________
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